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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original

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    CLERK, U.S. DISTRICT COURT         UNITED STATES DISTRICT COURT
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                                                         for the
  CENTRAL DISTRICT OF CALIFORNIA
            '0
    BY: ___________________ DEPUTY            Central District of California
                                                                                                  7/21/2021
 United States of America
                                                                                                           MM


                        v.
                                                                   Case No. PM
 Kevin Sims,

                        Defendant(s)


                                      CRIMINAL COMPLAINT BY TELEPHONE
                                     OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of June 6, 2021 in the county of Los Angeles in the Central District of California, the

defendant(s) violated:

             Code Section                                          Offense Description

             18 U.S.C. § 922(g)(1)                                 Possession of Ammunition by a Felon

          This criminal complaint is based on these facts:

           Please see attached affidavit.

          _ Continued on the attached sheet.

                                                                                     /s/ Timothy Jang
                                                                                 Complainant’s signature

                                                                        Timothy Jang, ATF Task Force Officer
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                       -XO\
                                                                                     Judge’s signature

 City and state: Los Angeles, California                            Hon. Patricia Donahue, U.S. Magistrate Judge
                                                                                  Printed name and title




AUSA: Alexander Robbins – 213-894-2400
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                               AFFIDAVIT

     I, Timothy Jang, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant for KEVIN SIMS (“SIMS”) for a

violation of 18 U.S.C. § 922(g)(1): Felon in Possession of

Ammunition.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested criminal

complaint and arrest warrant and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT

     3.      I am a Deputized Task Force Officer, (“TFO”), with the

United States Department of Justice, Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”), currently assigned to Los

Angeles Field Division Group II / Los Angeles Police Department,

(LAPD), Metropolitan Division Task Force.        I have been an

officer with the LAPD for approximately 14 years.         My mission

within this Task Force includes reducing gang-related and

violent crime, assisting in the investigation, locating, and


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apprehending persons who have committed crimes within the City

of Los Angeles, and developing and using proactive methods to

monitor and prevent criminal activity within our communities.

Additionally, I work in conjunction with several specialized

units, including Gang and Narcotics, LAPD Divisional Detectives,

Operations-South Bureau Criminal Gang Homicide Division,

California Department of Corrections, Los Angeles County

Probation, Los Angeles Sheriff’s Department, and Homeland

Security Investigations.     Before my current assignment, I was

assigned to the Southwest Division Federal Bureau Investigation

Task Force and Southwest Gang Enforcement Detail.         I have

attended and completed several formal and informal training

courses, such as basic law enforcement training while attending

the Los Angeles Police Academy, narcotics courses, firearms

courses, gang seminars, and undercover operations.         During my

time as a law-enforcement officer, I have conducted surveillance

at known narcotic, gang, and illegal firearm sales locations,

and I have observed the actions and methods used by criminals

selling and buying contraband.      I have also conducted or

participated in hundreds of firearm-related investigations.

                   III. SUMMARY OF PROBABLE CAUSE

     4.   On or about June 6, 2021, patrol officers of the Los

Angeles Police Department (“LAPD”) detained SIMS after he walked

into a 7-11 convenience store with a loaded short-barreled rifle

and placed the gun on the counter.       The rifle was a 5.56mm-

caliber “ghost gun” bearing no serial number; it held a live




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round in the chamber and had inserted into it a 30-round

magazine containing two live rounds.

     5.   At the time the officers found the gun and ammunition

in SIMS’s possession, SIMS had previously been convicted of

multiple felony crimes, each punishable by a term of

imprisonment exceeding one year, including drug trafficking and

assault with a deadly weapon.

     6.   An ATF interstate-nexus expert determined that the

ammunition seized from SIMS was manufactured outside of

California or outside of the United States and therefore

traveled in foreign and interstate commerce to be found in

California.

                   IV. STATEMENT OF PROBABLE CAUSE

     A.   SIMS’s Possession of a Firearm on June 6, 2021

     7.   Based on my review of law enforcement reports, body-

worn video, surveillance video, and photographs, and on

conversations with other law enforcement agents, I am aware of

the following regarding SIMS’s possession of a rifle and

ammunition on June 6, 2021, in Los Angeles County:

     8.   On or about June 6, 2021, at approximately 7:55 p.m.,

uniformed LAPD officers responded to a radio call of Assault

with a Deadly Weapon at the intersection of 54th Street and

Broadway Avenue in Los Angeles, California.        The call stated:

“Suspect male, Black, wearing bright green shirt walking towards

Figueroa, fired two shots.”     An LAPD helicopter also arrived

near the intersection of 54th Street and Broadway Avenue.           One

of the officers in the helicopter saw a man matching the radio-


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call description, holding a rifle, walk into a 7-11 convenience

store located in a strip mall at the intersection.

     9.     Numerous LAPD units arrived outside the 7-11.

Meanwhile, inside the store, as shown on surveillance video, the

man with the rifle purchased an energy drink and placed his

rifle on the counter by the cash register.        The police outside

then ordered the man to come out of the store.         He did, leaving

his rifle (and his wallet with his driver’s license in it) on

the counter in the 7-11.     The man was arrested.      He was

subsequently identified as SIMS based on his driver’s license.

     10.    After SIMS was in custody, LAPD officers recovered the

rifle from the counter of the store.       The rifle had a short (10-

inch) barrel and was a “ghost gun” bearing no serial number.

Examination of the rifle determined that it was a 5.56mm-caliber

semiautomatic rifle with a pistol grip, a flash suppressor, and

a folding stock, and it had attached to it a scope and 30-round

magazine.   Set herein is a picture of the rifle taken by law

enforcement after it was seized, with the magazine removed:




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     11.   The rifle contained a live .223-inch round in its

chamber (compatible with a 5.56mm-caliber rifle), and the

magazine inserted inside the rifle contained two .223 rounds of

ammunition.

     12.   LAPD officers spoke with two employees of the 7-11,

both of whom saw SIMS walk in holding the rifle.         The officers

also obtained surveillance video from the 7-11, which clearly

shows SIMS holding the rifle before putting it down on the

counter.   Below are two screenshots from the 7-11 surveillance

video:




     13.   After SIMS was arrested, LAPD officers found a spent

.223 shell casing near the parking lot where the 7-11 was

located.

     B.    SIMS’ prior felony convictions

     14.   I have reviewed criminal-history records for SIMS and

a criminal-history report from a law-enforcement database.           From

these documents, I learned that, at the time SIMS possessed the

ghost gun and ammunition, he had previously been convicted of




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the following felony crimes punishable by a term of imprisonment

exceeding one year:

              a.   Possession of Cocaine Base for Sale, in violation

of California Health and Safety Code Section 11351.5, in the

Superior Court of the State of California, County of Los

Angeles, in case number BA348083, on or about October 30, 2008.

              b.   Assault with a Deadly Weapon -- Not Firearm, in

violation of California Penal Code Section 245(a)(1), in the

Superior Court of the State of California, County of Los

Angeles, in case number BA368460, on or about April 22, 2010.

              c.   Transportation of a Controlled Substance for

Sale, in violation of California Health and Safety Code Section

11352(a), in the Superior Court of California, County of Los

Angeles, in case number BA398608, on or about June 18, 2012.

        C.    Interstate Nexus

        15.   Based on my discussions with him, I know that on July

20, 2021, ATF interstate-nexus expert David Gonzalez obtained a

description and reviewed photographs of the ammunition recovered

from the rifle that SIMS possessed in the 7-11 store on June 6,

2021.    Based on that expert’s training and experience, he

determined that the two rounds of ammunition found inside the

magazine attached to the rifle were manufactured by Denel

Pretoria Metal (DNL), in the Republic of South Africa, outside

of the United States, and that the round of ammunition found in

the chamber of the rifle was manufactured by Lake City

Ammunition, in Missouri, outside of California.         Therefore, in

order for each item of ammunition to have been found in the



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state of California, as it was on June 6, 2021, the ammunition

must have traveled in and affected foreign or interstate

commerce.

                             V. CONCLUSION
     16.    For the reasons described above, there is probable

cause to believe that KEVIN SIMS has committed a violation of 18

U.S.C. § 922(g)(1): Felon in Possession of Ammunition.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                  VW day of
telephone on this ____
 -XO\
_________, 2021.



THE HONORABLE PATRICIA DONAHUE
UNITED STATES MAGISTRATE JUDGE




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